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Via Electronic Mail

October 1, 2020

Robert E. Quinn
Corporation Counsel
65 Niagara Square
1103 City Hall
Buffalo, NY 14202
rquinn@ch.ci.buffalo.ny.us

Re: Black Love Resists et al v. City of Buffalo, 1:18-cv-00719-CCR

Dear Rob,

       NCLEJ, along with the Center for Constitutional Rights and the Western New York Law
Center, write concerning the number of depositions in the above captioned case.

        As you know, this is a class action involving serious allegations of systematic
discrimination and other unconstitutional policies and practices over a more than eight year period
(many of which continue to this day). The Complaint asserts four causes of actions on behalf of
10 named Plaintiffs and multiple classes and subclasses. Plaintiffs’ allegations implicate 10
identified defendants, as many as 30 unidentified defendants, countless other individual police
officers, officials, and administrators from multiple departments and offices within the City of
Buffalo, as well as several third parties. In sum, this case is complex, the issues at stake are vitally
important to the public interest, and there are numerous witnesses with unique knowledge of
relevant information. On top of all this, Defendants’ woefully inadequate document productions
thus far (as described further in our September 25 letter) have impeded Plaintiffs’ ability to obtain
relevant discovery by means other than deposition.

        As a result, Plaintiffs request the ability to take up to 70 depositions in this action. We
believe that at least 70 depositions are necessary considering the needs and complexity of this
action. Indeed, this number is lower than the number of depositions taken in similar cases. See,
e.g., Floyd v. City of New York, 08 Civ. 103 (S.D.N.Y.) (plaintiffs took 78 depositions).

        In addition to individual depositions, Plaintiffs also intend to serve a Rule 30(b)(6)
deposition notice on the City concerning a range of issues, including (but not limited to) topics
relating to the use of checkpoints, the Strike Force, the Housing Unit, the BTVA, and the BPD
Internal Affairs Division. We expect that this 30(b)(6) deposition will require questioning multiple
designated representatives over the course of multiple days. We propose scheduling a meet and
confer to discuss a protocol for this deposition after Plaintiffs serve formal notice.

        Please let us know as soon as possible if you consent to Plaintiffs’ request to take up to 70
depositions. Alternatively, please let us know your availability to meet and confer so that we can
raise this issue with the Court.
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                                         Sincerely,




                                         Claudia Wilner
                                         Director of Litigation and Advocacy




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